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TODD KIM
Assistant Attorney General
DANIEL PINKSTON
Environmental Defense Section
Environment & Natural Resources Div.
U.S. Dept. of Justice
999 18th Street, South Terrace, Suite 370
Denver, CO 80202
(303) 844-1804
Daniel.pinkston@usdoj.gov

                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA

____________________________________
                                       )
CALUMET MONTANA REFINING, LLC, )
                                       )
             Plaintiff,                )           Case No. 4:24-cv-62-BMM
                                       )
      v.                               )
                                       )
MICHAEL S. REGAN, in his official      )
capacity as the Administrator of the   )
United States Environmental Protection )
Agency,                                )
                                       )
             Defendant.                )
___________________________________ )

                      DEFENDANT’S CROSS-MOTION
                       FOR SUMMARY JUDGMENT

      Defendant (“EPA”) cross-moves for summary judgment and opposes, in

part, Plaintiff’s motion for summary judgment, ECF No. 28. EPA does not dispute

liability under the Clean Air Act citizen suit provision. But EPA opposes

Plaintiff’s requested remedy, which is that the Court order EPA to act by
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December 13, 2024. Instead, EPA respectfully requests that the Court order a

deadline for EPA’s action that is no earlier than January 30, 2025. EPA also seeks

summary judgment on Plaintiff’s Administrative Procedure Act claim because the

Clean Air Act citizen suit provision provides an adequate remedy.

      This motion is supported by the accompanying memorandum and

declaration of Byron Bunker.

                                      Respectfully submitted,

                                      TODD KIM
                                      Assistant Attorney General
                                      Environment & Natural Resources Division

Dated: Oct. 29, 2024           By:    /s/ Daniel Pinkston
                                      DANIEL PINKSTON
                                      Environmental Defense Section
                                      Environment & Natural Resources Division
                                      U.S. Dept. of Justice
                                      999 18th Street, South Terrace, Suite 370
                                      Denver, CO 80202
                                      (303) 844-1804
                                      Daniel.pinkston@usdoj.gov

                                      Of Counsel:

                                      SAMUEL STRICKLAND
                                      U.S. Environmental Protection Agency
                                      Office of General Counsel
                                      1200 Pennsylvania Ave. NW
                                      Washington, D.C 20460

                                      Counsel for Defendant
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